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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JOHNSON & JOHNSON HEALTH CARE                     §
 SYSTEMS INC.,                                     §
                                                   §
                         Plaintiff,                §
                                                   §
                            v.                     §
                                                   §
 DOROTHY FINK, Acting Secretary of Health          §        Case No. 1:24-cv-3188-RC
 and Human Services, et al.,                       §
                                                   §
                        Defendants.                §
                                                   §
                                                   §
                                                   §
                                                   §
                                                   §
                                                   §
                                                   §


 [PROPOSED] ORDER GRANTING 340B HEALTH, UMASS MEMORIAL MEDICAL
   CENTER, AND GENESIS HEALTHCARE SYSTEM’S MOTION TO INTERVENE

        Upon consideration of 340B Health, UMass Memorial Medical Center, and Genesis

HealthCare System’s Motion to Intervene as Defendants in this action, and any opposition

thereto, it is hereby

        ORDERED that the Motion is granted; and it is further

        ORDERED that Intervenor Defendants shall file their Motion for Summary Judgment

and any opposition to Plaintiff’s Motion for Summary Judgment on or before March 3, 2025.




Dated: __________, 2025

                                                UNITED STATES DISTRICT JUDGE
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Local Rule 7(k) Appendix: Names and Addresses of Attorneys Entitled to Be Notified of
This Entry

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